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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

Donna Curling, et al.,              )
                                    )
                Plaintiff ,         )
                                    )                Case No. 1:17-CV-02989-AT
v.                                  )
                                    )
Brad Raffensperger, et al;          )
                                    )
                Defendants.         )
___________________________________ )

MOTION TO QUASH SUBPOENAS AND MOTION FOR A PROTECTIVE
   ORDER BY PAUL V. MAGGIO WITH INDWELLING BRIEF IN
                       SUPPORT

          Paul V. Maggio, a nonparty, files this Motion to Quash Subpoenas and Motion

for a Protective Order pursuant to Federal Rules of Civil Procedure 26 and 45 and

shows as follows:

I.        Introduction & Background

     1.      Nonparty Paul V. Maggio (“Maggio”) was served with a Subpoena to

             Testify at a Deposition in Civil Action and a Subpoena to Produce

             Documents, Information, or Objects or to Permit Inspection of Premises

             in a Civil Action issued by Plaintiffs on June 15, 2022.

     2.      Maggio is not a party to the matter before the court. Maggio is an

             executive with SullivanStrickler, a technology company that, among
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       other things, offers e-discovery support and electronic forensic and

       collections tools to its clients.

3.     Maggio served his Written Objection Pursuant to Fed. R. Civ. P. 45 to

       the Subpoena to Testify at a Deposition in Civil Action and Subpoena to

       Produce Documents, Information, or Objects or to Permit Inspection of

       Premises in a Civil Action to Plaintiffs via e-mail to Plaintiff’s counsel

       on June 29, 2022.

4.     The “Definitions” section within Attachment A to the Subpoena to

       Produce Documents, Information, or Objects or to Permit Inspection of

       Premises in a Civil Action defines “Unauthorized Access to Coffee

       County’s Election System, EMS Servers and Election Data” to mean

       “any event(s) that took place after November 3, 2020, in which one or

       more Coffee County election officials (including members of its board of

       elections or persons under their authority or direction) granted access to

       one or more Unauthorized Persons to access Coffee County's Election

       System components, EMS server, electronic records, and election ballots,

       as referenced, for instance, in the following media articles:

       https://www.washingtonpost.com/investigations/2022/05/l 3/coffee-

       county-misty-hampton-election/; https://www.thedailybeast.com/how-a-

       coffee-county-gop-chair-coordinated-a-voting-machine-breach;


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       https://www.salon.com/2022/05/13/georgia-official-allowed-conspiracist-

       to-breach-voting-system-in-search-of-fraud-report/ .

5.     The “Definitions” section within Attachment A to the Subpoena to

       Produce Documents, Information, or Objects or to Permit Inspection of

       Premises in a Civil Action defines “Unauthorized Persons” to mean “any

       Person other than an employee or agent of the Coffee County Election

       Board, the Secretary of State, or Dominion Voting Systems,

       respectively.”

6.     These definitions are used throughout the specific requests in the

       subpoena, and as such, they expressly incorporate the subject matter of

       the online articles referenced in the Definitions.

7.     The articles reference a video apparently made by Misty Hampton that

       went “viral” but no link to the video was provided by Plaintiffs.

8.     The articles reference events occurring in other states, former President

       Donald Trump, and the events of January 6, 2021 at the Capitol.

9.     The articles include hyperlinks to still other articles, which themselves

       contain hyperlinks to other articles, rendering the Definition in subpoena

       that includes reference to such articles, an impossible to decipher rabbit

       hole of reporting on various election-related issues.




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    10.     Upon accessing the links referenced in Definitions section of the

            subpoena, Maggio was presented with the following language from the

            authors of the refenced articles:

            a. Suspected or attempted breaches have spurred law enforcement

                investigations in Colorado, Michigan and Ohio. One such case has

                already led to criminal charges. Tina Peters, an elections official in

                Mesa County, Colo., was indicted in March on charges stemming

                from her alleged efforts to secretly copy a Dominion Voting Systems

                server last year. 1

            b. In Michigan, state police are investigating an alleged breach of voting

                equipment after the 2020 election in Roscommon County. A

                local NBC television affiliate in western Michigan reported last week

                that police had raided a township office in a different county as part of

                that investigation.2

            c. “Voting systems are considered by the federal government to be

                “critical infrastructure,” vital to national security, and access to their

                software and other components is tightly regulated.” 3




1
  https://www.washingtonpost.com/investigations/2022/05/13/coffee-county-misty-hampton-election/
2
  Id.
3
  Id.

                                                    4
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            d. “Raffensperger’s office declined to comment for this report, citing the

                pending litigation and an ongoing investigation of the Coffee County

                matter. Attorneys for Raffensperger told the court last month that the

                secretary of state’s office launched the investigation as soon as it

                became aware of the recorded phone call. They said state officials

                have not found evidence of a security breach.”

            e. “The state board referred the findings to Georgia Attorney General

                Chris Carr (R) for potential civil penalties. A spokeswoman for Carr

                told The Post this week that the review remains ‘active and

                ongoing.’” 4

            f. “The Georgia Secretary of State claims it is investigating how a local

                election supervisor gave a cadre of 2020 election truthers improper

                access to an election computer system, in what initially seemed like

                the latest example of rogue actors misusing their government

                positions to cast doubt on President Joe Biden’s victory over Donald

                Trump.”5

            g. “Last month, The Washington Post revealed that the Secretary of

                State’s office was investigating the matter.” 6



4
  Id.
5
  https://www.thedailybeast.com/how-a-coffee-county-gop-chair-coordinated-a-voting-machine-breach
6
  Id.

                                                    5
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            h. “Secretary of State Brad Raffensperger’s office has maintained it is

                 investigating the alleged unauthorized access in Coffee County. Last

                 summer, the secretary of state’s office seized and replaced the

                 computer server in question.”7

            i. “Similar attempts in Colorado, Michigan, and Ohio have been

                 investigated. One, in Mesa County, Colorado, has already led to an

                 indictment.”8

            j. “In an interview with Post, Hampton said that she was unaware that

                 the visit might contravene the state's guidance barring voting

                 equipment from being released to the public.”9

            k. “As the Washington Post notes, suspected and attempted breaches in

                 election security have prompted multiple investigations in states like

                 Ohio, Colorado, and Michigan.”

    11.     Accordingly, the subpoenas are aimed at discovery of documents,

            information, and other things, as well as testimony, related to alleged

            conduct that has been the subject matter of criminal investigations and

            even indictments in other jurisdictions.



7
  Id.
8
  Id.
9
  https://www.salon.com/2022/05/13/georgia-official-allowed-conspiracist-to-breach-voting-system-in-search-of-
fraud-report/


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           a. II.    Legal Standard

      A.      Motion To Quash Subpoenas

12.        The Federal Rules of Civil Procedure generally provide that “[p]arties

           may obtain discovery regarding any nonprivileged mater that is relevant

           to any party’s claim or defense[.]” Fed. R. Civ. P. 26(b)(1).

13.        However, if a subpoena seeks information that is protected by privilege

           or other legally recognized exception to compel disclosure, it can be

           quashed or modified. Fed. R. Civ. P. 35(d)(3)(A)(iii).

14.        Rule 45 of the Federal Rules of Civil Procedure provides that “[o]n

           timely motion, the court by which a subpoena was issued must quash or

           modify that subpoena if it…(iii) requires disclosure of privileged or other

           protected matter, if no exception or waiver applies.” Fed. R. Civ. P.

           45(d)(3)(A)(iii).

15.        Under the Fifth Amendment to the United States Constitution, “No

           person ... shall be compelled in any criminal case to be a witness against

           himself.” U.S. Const. Amend. V.

16.        The Fifth Amendment “permits a person to refuse to testify against

           himself at a criminal trial in which he is a defendant” and “also

           ‘privileges him not to answer official questions put to him in any other

           proceeding, civil or criminal, formal or informal, where the answers


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        might incriminate him in future criminal proceedings.’” Vega v. Tekoh,

        21-499, 2022 WL 2251304, at *4 (U.S. June 23, 2022) (internal citations

        omitted).

17.     As evidenced by the language of the articles included in the Definitions

        of the subpoena, the subject matter of the subpoenas seeks information

        from Maggio that might later incriminate him in future criminal

        proceedings.

18.     While Maggio denies any criminal wrongdoing, he is compelled to assert

        his rights under the Fifth Amendment to the United States Constitution

        and asks this Court to quash both the Subpoena to Testify at a Deposition

        in Civil Action and a Subpoena to Produce Documents, Information, or

        Objects or to Permit Inspection of Premises in a Civil Action issued by

        Plaintiffs on June 15, 2022 on the basis that the same would require

        Maggio to produce documents and testify regarding matters that are

        protected by the Fifth Amendment.

19.     Moreover, the Definitions within the subpoena include within them

        hyperlinks to articles which themselves include hyperlinks to still other

        articles, which themselves contain hyperlinks to other articles, rendering

        the Definition in subpoena that includes reference to such articles, an

        impossible to decipher rabbit hole of reporting on various election-related


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        issues. Accordingly, the subpoena is impossibly vague and improper,

        leaving Maggio tasked with deciphering what documents and things are

        sought related to what subjects that may be reported on in the included

        links and the hyperlinks therein.

      Respectfully submitted this 29th day of June, 2022.

                                      WINTER CAPRIOLA ZENNER, LLC

                                      By: /s/ Richard J. Capriola
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        RULE 7.1 CERTIFICATE OF COMPLIANCE WITH L.R. 5.1
                   AND CERTIFICATE OF SERVICE

      I certify that the foregoing document was prepared using 14-point Times New

Roman font in compliance with Local Rule 5.1. This certificate is given in

compliance with Local Rule 7.1(D).

      This also certifies that I have served counsel with the foregoing by filing it

using the CM/ECF system, which will send notification of the filing to all attorneys

of record in this case.


                                WINTER CAPRIOLA ZENNER, LLC

                                             By: /s/ Eric B. Coleman
                                             Eric B. Coleman
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